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IN THE UNITED STATES
FOR THE DISTRICT OF COLUMBIA

ROBERT P. STORCH, et al.,

Plaintiffs,
Civil Action No. 1:25-cv-415

Judge Ana C. Reyes
PETE HEGSETH, in his official capacity
as Secretary of Defense, et. a.,

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|
|
Vv. |
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|
|
Defendants. |

Motion for Leave to File Notice

Due to an error, the following attached document, Unopposed Motion of Kwame Gyamfi for Leave
to File Amicus Curiae Brief in Support of Defendants, was originally filed in the Clerk’s office on
March 26, 2025 along with the amicus brief, Certificate of Service and Proposed Order. However,
it appears that the Unopposed Motion... was not submitted to the court for review. Now, attached

to this Notice is the original stamped Unopposed Motion for the court’s review.

Respectfully submitted, Dated: April 14, 2025

Of-— GE

Kwame Gyamfi

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PROPOSED ORDER FOR LEAVE TO FILE NOTICE
This matter came before the Court on KWAME GYAMFI’s Motion for Leave to File Notice. The

Court, having reviewed the motion, hereby:
ORDERS that the KWAME GYAMFI’s Motion for Leave to File Notice is hereby GRANTED.

Respectfully submitted, Dated: April 14, 2025

O.f-— GFE

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